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 5
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )              4 TO PRECLUDE THE GOVERNMENT
14                                         )             AND ITS WITNESSES FROM VOUCHING
     vs.                                   )
15                                         )             Pretrial Conference: July 16, 2015
                                           )             Time: 2:00 p.m.
16                                         )
     DOUGLAS STORMS YORK,                  )             Trial Date: July 20, 2015
17                                         )
                       Defendant.          )
18   _____________________________________ )             Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

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 1                                              ARGUMENT

 2   I.      The Government and Its Witnesses Should Be Prevented from Vouching

 3           Impermissible vouching must not be allowed during the government’s case-in-chief or during

 4   the government’s closing argument. “Vouching consists of placing the prestige of the government

 5   behind a witness through personal assurances of the witness’s veracity, or suggesting that

 6   information not presented to the jury supports the witness’s testimony.” See United States v.

 7   Necoechea, 986 F.2d 1273, 1276 (9th Cir.1993). The Supreme Court has held:

 8           The prosecutor’s vouching for the credibility of witnesses and expressing his
             personal opinion concerning the guilt of the accused pose two dangers: such
 9           comments can convey the impression that evidence not presented to the jury, but
             known to the prosecutor, supports the charges against the defendant and can thus
10           jeopardize the defendant’s right to be tried solely on the basis of the evidence
             presented to the jury; and the prosecutor’s opinion carries with it the imprimatur of
11           the Government and may induce the jury to trust the Government’s judgment rather
             than its own view of the evidence.
12

13   Berger v. United States, 295 U.S. 78, 88-89 (1935). Similarly, the Ninth Circuit has “consistently

14   cautioned against prosecutorial statements designed to appeal to the passions, fears and

15   vulnerabilities of the jury . . . .” United States v. Weatherspoon, 410 F.3d 1142, 1149 (9th Cir.

16   2005). As the Ninth Circuit has explained:

17           A prosecutor may not urge jurors to convict a criminal defendant in order to protect
             community values, preserve civil order, or deter future lawbreaking. The evil lurking
18           in such prosecutorial appeals is that the defendant will be convicted for reasons
             wholly irrelevant to his own guilt or innocence. Jurors may be persuaded by such
19           appeals to believe that, by convicting a defendant, they will assist in the solution of
             some pressing social problem. The amelioration of society’s woes is far too heavy
20           a burden for the individual criminal defendant to bear.

21
     United States v. Koon, 34 F.3d 1416, 1443 (9th Cir.1994), quoting United States v. Monaghan, 741
22
     F.2d 1434, 1441 (D.C. Cir.1984). It is also impermissible for government agents to vouch for
23
     themselves or each other. In United States v. Rudberg, 122 F.3d 1199, 1204 (9th Cir. 1997), the
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     Ninth Circuit held that vouching can occur through the testimony of a government agent because
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     the jury might easily identify the agent’s position with the integrity of the United States.
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 1   In fact, the Court noted that when that happens, vouching occurs in a “very powerful form.” Id.

 2                                            CONCLUSION

 3           For the foregoing reasons, and for such other reasons as may appear at the hearing on this

 4   motion, Mr. York respectfully requests that the Court grant his motion, and accord such other relief

 5   as this Court deems just. Mr. York requests leave to file further motions as may be necessary.

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 7   Dated: July 2, 2015                                  Respectfully submitted,

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                                                          STEVEN G. KALAR
 9                                                        Federal Public Defender

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                                                               s/
11                                                        GRAHAM ARCHER
                                                          Assistant Federal Public Defender
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